‘Case 6:18:W=0086‘Z=RBE:D€1”D0…D 6514

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F ed oral Trade Com mission,
Case No. 6: l 8-CV-862-0RL~DCI
Plainh'ff,
v.

MOBE Ltd., et al.,

Def`endants.

 

 

 

Resgonse to Federal Trade Commission’s Motion for Default judgment

Pro Se Defendant, l, Mathew McPhee, hereby submit my response to the Federal
Trade Commission's Motion for Default ludgment. l certify that l have conferred with
opposing counsel. They refused to agree to the withdrawal of the Motion. Opposing counsel
did, however, agree to an extension up to and including April 12, 2019 to submit this
Response.

introduction

Pursuant to the Court’s Order, the Federa| Trade Commission (”FI'C"), seized all of
my monetary assets. Friends and family provided me with a small sum of money to retain
counsel who repeatedly requested that the FTC release a modest amount of funds obtained
in asset seizure to pay my attorneys. While the Commisslons attorneys agreed to release
$50,000 for attorneys’ fees, it steadfastly refused to agree to any additional monetary
release. Thereafter, retained counsel withdrew and l am now left without any money
whatsoever.

Facts

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le lawyers entered into settlement discussions, including the necessity to obtain a
release of funds, for several months. On December 10, 2018, my counsel withdrew because
that had not been paid. On December 18, 2018, l requested that the FTC release enough
money to obtain and pay counsel. Other than the afore-mentioned initial release the FTC
refused.

On December 22, 2018 the U.S. Government partially shut down for 34 days causing
the FTC, and later the entire U.S. federal court system, to close its doors.

On February 1, 2019, five days after the shutdown ended, the Fl’C applied for a
Clerk's Entry of ludgment.

On February 2, 2019, l attempted to file my response to the FTC's complaint The
same day, the Clerk of the Court entered the Clerk's default

On February 8, 2019, | wrote the following to the FTC:
"l was wondering if you guys would be willing to allow me to state that you won‘t
oppose my motion to set aside the clerk's default... l expect to file my motion either
today or Monday.
Please let me know."

The same day the FTC responded:
"Dear Matt,

You were afforded multiple extensions since this case was brought to file your answer. We
made clear to your counsel that November 5 would be the last extension we would request
from the court, even if the parties continued settlement negotiations after the deadline.
The fact that we were willing to keep talking after the deadline also does not mean you
were excused from answering the complaint indefinitely. ln any event, by December 10,
your counsel withdrew and on December 18 we expressly declined your request for
additional attorney's fees. We have not heard from you or your counsel since we sent that
email.

Sung"

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| was surprised and disappointed at the FfC's response so l reached out again the next day:

"Hi Sung,

l was under the impression, as were both Dl and Andy, that we all had a mutual
understanding; while we continued to work out what to do with the resorts / apartments,
and the injunction language, we'd delay the deadline.
As recently as November 29th, we were discussing by email (you, Ben Davidson, and both
Di and Andy) the proposed language for the injunction - this was well past the November
5th deadline.

 

We were also talking about a release of funds for legal fees ~ and both DJ and Andy were
going to help me put together the answers to Mark's questions received on December 7th.

The reasonable assumption from my side was that we'd focus on working out the details of
the above and delay the deadline.

Respectfully, l would request that you please reconsider. l have been extremely co-
operative up to this point - and l think you, Benjamin and Mark have also been very fair to
deal with, considering the circumstances

Please can you reconsider,

Sincerely,

Matt”

On Fri, Feb 8, 2019 the FlC wrote:

"Dear Matt,

The FTC intends to oppose your proposed motion to set aside the default. As you know,
the deadline to answer the complaint was back on November 5, 2018 and your former
counse|, Andy and DJ, surely advised you of the consequences of defaulting. You have not
provided us with a good reason for failing to respond by November S or at any time before
the clerk's entry of default on February 1, 2019.

 

 

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Regards,
Sung”

w

Pursuant to Ru|e 55 © of the Federal Rules of Civil Procedure, "[t]he court may set
aside an entry of default for good cause.” $ee, e.g., EEOC v. Mike Smirh Ponriac GM(,`, inc.,
896 F.2d 524, 527-28 (11"‘ Cir. 1990). The Eleventh Circuit has held that the ”good Cause"
standard under Rule 55© is a ”liberal one." $ee, e.g., Compania Interamicana Exporr-
import, S.A. v. Campania Dominicana de Aviacion, 88 F.3d 948, 951 (11"‘ Cir. 1996). Even
where there is uncertainty as to whether "good cause” exists, courts generally set aside the
default so that the case may be decided on its merits. See, Singh, No. 6:08»cv»1605-0rl-
BSKRS, 2008 WL 4922071, at ‘2.

To set aside an entry of default, district courts consider whether: (1) there was excusable
neglect; (2) the defaulting party responded promptly after notice of the entry of the default;
(3) setting aside the default will not cause prejudice to the opposing party; and (4) the
defaulting party has a meritorious defense. $ee, e.g., tee v. Golden Fortune Int‘l, No. 6:08~
vc-1394-Orl-22DAB, 2009 WL 36452, at *Z(M.D. Fla. Jan. 6, 2009.” The defense appears to
present a meritorious defense at this stage in the litigation. Therefore, Plaintiff’s request to
set aside the entry of default ls supported by good cause and the well-established pubiic
policy in favor of deciding cases on the merits. $ee, BP Prods. N. Am. Inc. v. Super Stop
#701, Inc., No. 08~61301~Cl'V, 2009 WL 2852780. At ’2 (S.D. Fla. Sept. 1, 2009) (setting aside
default where delay was only 21 days, and finding good faith although the delay was within
the control of the defendants); Si'ngh, No. 6:08-cv-1605-Orl-35KRS, 2008 WL 4922071, at ’3
(setting aside default where the plaintiff was not prejudiced by a three business day delay
and the defendant claimed to have documents to refute plaintist claim for relief);
Mendoza v. $. Heritage Constr. Corp., No. 6:08-cv»1-0rl-ZSGJK, 2008 WL 2944913, ’1 (M.D.
Fla. lu|y 29, 2008) (finding good cause and setting aside entry of default where defendant
misplaced the complaint)."

Discussion

Here, my response to entry of default judgment is supported by good cause. Flrst,

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'CaSe 6218-CV-00862-RBD-DC| DOCUment 167 Fl'ied~GA=H.-BHQM---

my "neglect” should be deemed excusable Speciiically, my failure to timely respond to the
Complaint in this matter was an oversight due to miscommunications between the FTC
attorneys and the effect of the 34-day government shutdown.

Second, l filed my Answer and Affirmative Defenses in conjunction with this Motion
on February 2, 2019, the day the Clerk entered judgment.

Third, once l realized that l needed to respond to the entry of the Clerk's Defau|t, l
submitted my response within 12 days. Clearly such a short delay did not and could not
have caused the Fl'C any prejudice in that sort of time.

Fourth, l have a meritorious and perhaps dispositive defense. On December 3'°.
2018, the Ninth Circuit Court of Appeals handed down its opinion in F.T.C. v. AMG Capital
Management , et al. (Attached hereto as Exhibit A). Two judges disagreed with the
majority. Writing in separate opinions, iudge O’Scannlain and ludge Bea both
acknowledged that the Circuit had been wrong all along regarding the FTC's practice of
seeking huge monetary rewards in the form of restitution or disgorgement , and that the
time had come to set things right. These concurring opinions suggest that the Ninth Grcuit
may finally overrule all FTC equitable disgorgement cases.

AMG Capital filed their petition for rehearing en banc in March 2019, and we will learn
whether the Ninth Circuit will accept the concurrence's invitation to revisit this issue by late
spring 2019.

This issue is heating up quickly among informed commentators
At least three Amicus briefs have been filed to date in support of an en banc petition for

rehearing urging that the Court finally overrule all FTC equitable disgorgement cases:

1) The Chamber of Commerce of the Unlted States of America (Attached
hereto as Exhibit B)

2) Cause 0f Action institute (Attached hereto as Exhibit C)

3) Washington Legal Foundation (Attached hereto as Exhibit 0)

Conclusion

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When a party appears to present a meritorious defense at this
stage in the litigation, well-established policy in this jurisdiction dictates that the Motion for
Entry of Defau|t Judgment should be denied in favor of deciding cases on their merits. (id).

Here, l have clearly presented a meritorious and perhaps a wholly dispositive
defense to the Motion. lndeed, if allowed, within 30 days, l intend to file and serve a

motion to set aside the entire stealth ex parte, Temporary Restraining Grder issued last
summer.

For the reasons set forth above, l respectfully ask that this Court deny the
Commission's Motion for Default Judgment, and that my Answers and Affirmative Defenses
be allowed to be filed.

Respectfuliy submitted,

M»W

/z *" ,q}a,~¢ ZO/F

Matt McPhee, pro se Defendant, with the assistance of counsel.

 

 

